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                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,      )         4:07CR3099
                               )
               Plaintiff,      )
                               )
       vs.                     )
                               )         ORDER
CESAR ALFREDO TORRES,          )
a/k/a CESAR RODRIGO SALAS      )
VALLEJO,                       )
                               )
               Defendant.      )
_______________________________________________________________

UNITED STATES OF AMERICA,            )            4:07CR3036
                                     )
                 Plaintiff,          )
                                     )
     vs.                             )
                                     )            ORDER
JOSEPH ROBERT MORANDO                )
and JOSE M. LLAMAS,                  )
                                     )
                 Defendants.         )

     After consultation with counsel by telephone,

     IT IS ORDERED:

     1.    The trial in United States v. Torres (4:07CR3099) is set for January 7,
           2008, before the undersigned United States district judge in Courtroom
           No. 1, United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska;
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    2.    On the motion of counsel for defendant Jose Llamas without objection
          from the co-defendant’s counsel or the government, the trial in United
          States v. Morando & Llamas (4:07CR3036) is continued until March 31,
          2008, as the first case on the trial docket before the undersigned United
          States district judge, and defendant Llamas’s motion to continue trial
          (filing 68) is granted;

    3.    For defendants Morando and Llamas in Case No. 4:07CR3036, the time
          between today’s date and trial is excluded for purposes of computing the
          limits under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(A) &
          (B).

    December 27, 2007.
                                    BY THE COURT:
                                    s/ Richard G. Kopf
                                    United States District Judge
